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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

   In re:                                     §
                                              § Chapter 11
   KrisJenn Ranch, LLC,                       §
                                              §
   Debtor                                     § Case No. 20-50805-RBK


   KrisJenn Ranch, LLC, KrisJenn Ranch,       §
   LLC–Series Uvalde Ranch, and KrisJenn      §
   Ranch, LLC–Series Pipeline ROW, as         §
   successors in interest to Black Duck       §
   Properties, LLC,                           §
                                              § Adversary No. 20-05027-RBK
   Plaintiffs,                                §
                                              §
   v.                                         §
                                              §
   DMA Properties, Inc. and Longbranch        §
   Energy, LP,                                §
                                              §
   Defendants.                                §


   DMA Properties, Inc. and Frank Daniel      §
   Moore,                                     §
                                              §
   Cross-Plaintiffs/Third-Party Plaintiffs,   §
                                              §
   v.                                         § Adversary No. 20-05027-RBK
                                              §
   KrisJenn Ranch, LLC, KrisJenn Ranch,       §
   LLC–Series Uvalde Ranch, and KrisJenn      §
   Ranch, LLC–Series Pipeline ROW, Black      §
   Duck Properties, LLC, Larry Wright, and    §
   John Terrill,                              §
                                              §
   Cross-Defendants/Third-Party Defendants.   §

                      STIPULATION REGARDING ANSWER DEADLINE FOR
                          THIRD PARTY DEFENDANT LARRY WRIGHT

  TO THE HON. RONALD B. KING, CHIEF UNITED STATES BANKRUPTCY JUDGE:

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          COME NOW Third-Party Plaintiffs DMA Properties, Inc. and Frank Daniel Moore
  (together, “Moore”) and Third-Party Defendant Larry Wright (together with Moore, the “Parties”)
  and stipulate and agree as follows:

           1.        On May 1, 2020, Krisjenn Ranch, LLC; Krisjenn Ranch, LLC, Series Uvalde

  Ranch; Krisjenn Ranch, LLC, Series Pipeline Row (together, “Debtors”) initiated the above-

  captioned adversary by filing a complaint against DMA Properties, Inc. (“DMA”) and others. See

  Adv. Dkt. 1.

           2.        On June 1, 2020, DMA filed its Counterclaim and a Third-Party Complaint against

  Larry Wright, among others. See Adv. Dkt. 6.

           3.        Summons was issued to Wright on June 2, 2020. See Adv. Dkt. 7. Summons was

  reissued on June 12, 2020 and the Clerk of Court noted Wright’s Answer due on July 13, 2020.

  See Adv. Dkt. 13.

           4.        No return of service on Wright has been filed.

           5.        On or about July 23, 2020, Wright engaged attorney William Germany to represent

  him in connection with the above-captioned adversary.

           6.        Mr. Germany accepted service of the Third-Party Complaint on behalf of Wright.

           NOW THEREFORE,

           A.        The Parties agree and stipulate that Wright’s Answer or other responsive pleading

  to the Third-Party Complaint [Dkt. 6] shall be August 14, 2020.

           IT IS SO STIPULATED.

           Dated August 5, 2020.

                       [Remainder of page intentionally left blank, signature pages follow]




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                                               By: /s/ William P. Germany (w/ permission)
        By : /s/ Natalie F. Wilson ___            WILLIAM P. GERMANY
             NATALIE F. WILSON                    State Bar No. 24069777
             State Bar No. 24076779

        COUNSEL FOR Defendants/Third Party COUNSEL FOR Third Party Defendant
        Plaintiffs DMA Properties, Inc. and Frank Larry Wright
        Daniel Moore




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                                        Certificate of Service

          I hereby certify that on August 5, 2020 a true and correct copy of the foregoing document
  was transmitted to each of the parties via the Court’s electronic transmission facilities and/or via
  electronic mail as noted below. For those parties not registered to receive electronic service, a
  true and correct copy of the foregoing document was served by United States Mail, first class,
  postage prepaid, at the address noted below.

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   Ranch, Krisjenn Ranch, LLC, Series
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   Duck Properties, LLC

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   COUNSEL FOR Third Party Defendant
   Larry Wright


                                                         /s/ Natalie F. Wilson
                                                         NATALIE F. WILSON

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